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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 FRANCISCO RIZO AND                              §
 HERMELINDA RIZO,                                §
     Plaintiffs,                                 §
                                                 §
 v.                                              §    CIVIL ACTION NO. 1:17-CV-00347-SS
                                                 §
 STATE AUTO PROPERTY &                           §    JURY DEMANDED
 CASUALTY INSURANCE                              §
 COMPANY AND DUSTIN CHARLES                      §
 BRADFORD,                                       §
      Defendants.                                §



                       PLAINTIFFS’ FIRST AMENDED COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

         COME NOW, Francisco Rizo and Hermelinda Rizo (“Plaintiffs”) and file this, Plaintiffs’

First Amended Complaint, complaining of State Auto Property & Casualty Insurance Company

(“State Auto”) and Dustin Charles Bradford (“Bradford”) (hereinafter collectively referred to as

“Defendants”), and for cause of action, Plaintiffs would respectfully show this Honorable Court

the following:

                                             PARTIES

1.       Plaintiffs Francisco Rizo and Hermelinda Rizo are individuals residing in Bexar County,

         Texas.

2.       Defendant State Auto is a foreign insurance company engaging in the business of

         insurance in the State of Texas. This defendant is properly before the Court.

      3. Defendant Dustin Charles Bradford is an individual residing in and domiciled in the State

         of Ohio. This defendant is properly before the Court.



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                                      JURISDICTION

4.   This case was originally filed in the District Court of Bexar County, Texas, and all claims

     asserted arose under state law.         Defendants removed asserting federal diversity

     jurisdiction pursuant to 28 U.S.C. §1332.

                                           VENUE

5.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) because

     Plaintiffs’ insured real property made the basis of this suit is situated in this district and

     all or a substantial part of the events or omissions giving rise to Plaintiffs’ claims

     occurred in this district.

                                           FACTS

6.   Plaintiffs are the owners of a Texas Homeowners’ Insurance Policy (hereinafter referred

     to as “the Policy”), which was issued by State Auto.

7.   Plaintiffs own the insured property, which is specifically located at 8434 Big Creek

     Drive, San Antonio, Texas 78242, in Bexar County (hereinafter referred to as “the

     Property”).

8.   State Auto sold the Policy insuring the Property to Plaintiffs.

9.   On or about April 25, 2015, a hail storm and/or windstorm struck Bexar County, Texas,

     causing severe damage to homes and businesses throughout the area, including Plaintiffs’

     residence (hereinafter referred to as “the Storm”). Specifically, Plaintiffs’ roof sustained

     extensive damage during the Storm. Plaintiffs also sustained additional structural and

     exterior damage during the Storm including, but not limited to, the exterior walls. Water

     intrusion through the roof caused significant damage throughout the entire home

     including, but not limited to, the home’s ceilings, walls, insulation, and flooring. Up


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      noticing the damages, Plaintiffs filed a claim with their insurance company, State Auto,

      for the damages to their home caused by the hail storm and/or windstorm.

10.   Plaintiffs submitted a claim to State Auto against the Policy for Roof Damage, Structural

      Damage, Water Damage, and Wind Damage the Property sustained as a result of the hail

      storm and/or windstorm.

11.   Plaintiffs asked that State Auto cover the cost of repairs to the Property, including but not

      limited to, repair and/or replacement of the roof and repair of the exterior, structural,

      and/or interior water damages to the Property, pursuant to the Policy.

12.   Defendant State Auto assigned Defendant Bradford as the individual adjuster on the

      claim. The adjuster assigned to Plaintiffs’ claim was improperly trained and failed to

      perform a thorough investigation of Plaintiffs’ claim. Bradford conducted a substandard

      investigation of Plaintiffs’ claim. The inadequacy of Defendant Bradford’s investigation

      is further evidenced by his letter to Plaintiffs dated November 19, 2015, which asserts

      vague and ambiguous reasons for the denial of the claim and for the items that were

      damaged, and thus no payment would be made on their claim. Although Bradford was

      aware of Plaintiffs’ reported potential damages covered by the Policy, he made

      determinations as to the amount of Plaintiffs’ claim without conducting thorough and

      reasonable investigation and/or inspection of Plaintiffs’ damages. Ultimately, Defendant

      Bradford determined that the damages were not covered under the Policy, thus no

      payment would be made on the claim. Bradford’s inadequate investigation was relied

      upon by Defendant State Auto in this action and resulted in Plaintiffs’ claim being

      undervalued and underpaid.




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13.   Defendant State Auto, along with its personnel, failed to thoroughly review and properly

      oversee the work of the assigned claims representative and adjusters, including Defendant

      Bradford, ultimately approving an improper adjustment of and an inadequate, unfair

      settlement of Plaintiffs’ claim. Further, Defendants misrepresented that Plaintiffs’

      damages were not covered under the Policy, when the losses, in fact, were properly

      covered damages. Defendant State Auto denied Plaintiffs’ claim without performing a

      reasonable investigation. As a result of these wrongful acts and omissions set forth above

      and further described herein, Plaintiffs were considerably underpaid on their claim and

      have suffered damages.

14.   Together, Defendants State Auto and Bradford set out to deny and/or underpay on

      properly covered damages. As a result of this unreasonable investigation, including the

      under-scoping of Plaintiffs’ Storm damages during the investigation and failure to

      provide full coverage for the damages sustained, Plaintiffs’ claim was improperly

      adjusted, and they were denied adequate and sufficient payment to repair their home.

      The mishandling of Plaintiffs’ claim has also caused a delay in their ability to fully repair

      their home, which has resulted in additional damages. To this date, Plaintiffs have yet to

      receive the full payment to which they are entitled under the Policy.

15.   As detailed in the paragraphs below, State Auto wrongfully denied Plaintiffs’ claim for

      repairs of the Property, even though the Policy provided coverage for losses such as those

      suffered by Plaintiffs. Furthermore, State Auto underpaid some of Plaintiffs’ claims by

      not providing full coverage for the damages sustained by Plaintiffs, as well as under-

      scoping the damages during its investigation.




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16.   To date, State Auto continues to delay in the payment for the damages to the property.

      As such, Plaintiffs have not been paid in full for the damages to their home.

17.   Defendant State Auto failed to perform its contractual duties to adequately compensate

      Plaintiffs under the terms of the Policy. Specifically, it refused to pay the full proceeds of

      the Policy, although due demand was made for proceeds to be paid in an amount

      sufficient to cover the damaged property, and all conditions precedent to recovery upon

      the Policy had been carried out and accomplished by Plaintiffs. State Auto’s conduct

      constitutes a breach of the insurance contract between State Auto and Plaintiffs.

18.   Defendants State Auto and Bradford misrepresented to Plaintiffs that the damage to the

      Property was not covered under the Policy, even though the damage was caused by a

      covered occurrence.     Defendants State Auto’s and Bradford’s conduct constitutes a

      violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

      §541.060(a)(1).

19.   Defendants State Auto and Bradford failed to make an attempt to settle Plaintiffs’ claim

      in a fair manner, although they were aware of their liability to Plaintiffs under the Policy.

      Defendants State Auto’s and Bradford’s conduct constitutes a violation of the Texas

      Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(2)(A).

20.   Defendants State Auto and Bradford failed to explain to Plaintiffs the reasons for their

      offer of an inadequate settlement. Specifically, Defendants State Auto and Bradford

      failed to offer Plaintiffs adequate compensation, without any explanation why full

      payment was not being made. Furthermore, Defendants State Auto and Bradford did not

      communicate that any future settlements or payments would be forthcoming to pay for

      the entire losses covered under the Policy, nor did they provide any explanation for the


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      failure to adequately settle Plaintiffs’ claim. Defendants State Auto’s and Bradford’s

      conduct is a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.

      INS. CODE §541.060(a)(3).

21.   Defendants State Auto and Bradford failed to affirm or deny coverage of Plaintiffs’ claim

      within a reasonable time. Specifically, Plaintiffs did not receive timely indication of

      acceptance or rejection, regarding the full and entire claim, in writing from Defendants

      State Auto and Bradford. Defendants State Auto’s and Bradford’s conduct constitutes a

      violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

      §541.060(a)(4).

22.   Defendants State Auto and Bradford refused to fully compensate Plaintiffs, under the

      terms of the Policy, even though Defendants State Auto and Bradford failed to conduct a

      reasonable investigation. Specifically, Defendants State Auto and Bradford performed an

      outcome-oriented investigation of Plaintiffs’ claim, which resulted in a biased, unfair, and

      inequitable evaluation of Plaintiffs’ losses on the Property. Defendants State Auto’s and

      Bradford’s conduct constitutes a violation of the Texas Insurance Code, Unfair

      Settlement Practices. TEX. INS. CODE §541.060(a)(7).

23.   Defendant State Auto failed to meet its obligations under the Texas Insurance Code

      regarding timely acknowledging Plaintiffs’ claim, beginning an investigation of

      Plaintiffs’ claim, and requesting all information reasonably necessary to investigate

      Plaintiffs’ claim, within the statutorily mandated time of receiving notice of Plaintiffs’

      claim. State Auto’s conduct constitutes a violation of the Texas Insurance Code, Prompt

      Payment of Claims. TEX. INS. CODE §542.055.




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24.   Defendant State Auto failed to accept or deny Plaintiffs’ full and entire claim within the

      statutorily mandated time of receiving all necessary information. State Auto’s conduct

      constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX.

      INS. CODE §542.056.

25.   Defendant State Auto failed to meet its obligations under the Texas Insurance Code

      regarding payment of claim without delay. Specifically, it has delayed full payment of

      Plaintiffs’ claim longer than allowed and, to date, Plaintiffs have not received full

      payment for their claim.       State Auto’s conduct constitutes a violation of the Texas

      Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.058.

26.   From and after the time Plaintiffs’ claim was presented to Defendant State Auto, the

      liability of State Auto to pay the full claim in accordance with the terms of the Policy was

      reasonably clear. However, State Auto has refused to pay Plaintiffs in full, despite there

      being no basis whatsoever on which a reasonable insurance company would have relied

      to deny the full payment. State Auto’s conduct constitutes a breach of the common law

      duty of good faith and fair dealing.

27.   Defendants State Auto and Bradford knowingly or recklessly made false representations,

      as described above, as to material facts and/or knowingly concealed all or part of material

      information from Plaintiffs.

28.   As a result of Defendants State Auto’s and Bradford’s wrongful acts and omissions,

      Plaintiffs were forced to retain the professional services of the attorney and law firm who

      are representing them with respect to these causes of action.

29.   Plaintiffs’ experience is not an isolated case.     The acts and omissions State Auto

      committed in this case, or similar acts and omissions, occur with such frequency that they


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          constitute a general business practice of State Auto with regard to handling these types of

          claims. State Auto's entire process is unfairly designed to reach favorable outcomes for

          the company at the expense of the policyholders.

                                       CAUSES OF ACTION:

                       CAUSES OF ACTION AGAINST DEFENDANT BRADFORD
                        NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                               UNFAIR SETTLEMENT PRACTICES

    30.   Defendant State Auto assigned Defendant Bradford to adjust the claim.            Defendant

          Bradford was improperly trained to handle claims of this nature and performed an

          unreasonable investigation of Plaintiffs’ damages. During his investigation, the adjuster

          failed to properly assess Plaintiffs’ hail storm and/or windstorm damages. The adjuster

          also omitted covered damages from his report, including many of Plaintiffs’ interior

          damages. In addition, the damages that the adjuster did include in the estimate were

          severely underestimated.

    31.   Defendant Bradford’s conduct constitutes multiple violations of the Texas Insurance

          Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under

          this article are made actionable by TEX. INS. CODE §541.151.

    32.   Defendant Bradford is individually liable for his unfair and deceptive acts, irrespective of

          the fact he was acting on behalf of State Auto, because he is a “person” as defined by

          TEX. INS. CODE §541.002(2).        The term “person” is defined as “any individual,

          corporation, association, partnership, reciprocal or interinsurance exchange, Lloyds plan,

          fraternal benefit society, or other legal entity engaged in the business of insurance,

          including an agent, broker, adjuster or life and health insurance counselor.” TEX. INS.

          CODE §541.002(2) (emphasis added; see also Liberty Mutual Insurance Co. v. Garrison


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          Contractors, Inc., 966 S.W.2d 482, 484 (Tex. 1998)) (holding an insurance company

          employee to be a “person” for the purpose of bringing a cause of action against him or

          her under the Texas Insurance Code and subjecting him or her to individual liability).

    33.   Falsehoods and misrepresentations may be communicated by actions as well as by the

          spoken word; therefore, deceptive conduct is equivalent to a verbal representation.

          Defendant Bradford’s misrepresentations by means of deceptive conduct include, but are

          not limited to: (1) failing to conduct a reasonable inspection and investigation of

          Plaintiffs’ damages; (2) stating that Plaintiffs’ damages were less severe than they in fact

          were; (3) using his own statements about the non-severity of the damage as a basis for

          denying properly covered damages and/or underpaying damages; and (4) failing to

          provide an adequate explanation for the inadequate compensation Plaintiffs received.

          Defendant Bradford’s unfair settlement practice, as described above and the example

          given herein, of misrepresenting to Plaintiffs material facts relating to the coverage at

          issue, constitutes an unfair method of competition and an unfair and deceptive act or

          practice in the business of insurance. TEX. INS. CODE §541.060(a)(1).

    34.   Defendant Bradford’s unfair settlement practice, as described above, of failing to attempt

          in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even

          though liability under the Policy is reasonably clear, constitutes an unfair method of

          competition and an unfair and deceptive act or practice in the business of insurance. TEX.

          INS. CODE §541.060(a)(2)(A).

    35.   Defendant Bradford failed to explain to Plaintiffs the reasons for his offer of an

          inadequate settlement.     Specifically, Defendant Bradford failed to offer Plaintiffs

          adequate compensation without any explanation as to why full payment was not being


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          made.   Furthermore, Defendant did not communicate that any future settlements or

          payments would be forthcoming to pay for the entire losses covered under the Policy, nor

          did he provide any explanation for the failure to adequately settle Plaintiffs’ claim. The

          unfair settlement practice of Defendant Bradford as described above, of failing to

          promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in

          relation to the facts or applicable law, for the offer of a compromise settlement of

          Plaintiffs’ claim, constitutes an unfair method of competition and an unfair and deceptive

          act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

    36.   Defendant Bradford’s unfair settlement practice, as described above, of failing within a

          reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a

          reservation of rights to Plaintiffs, constitutes an unfair method of competition and an

          unfair and deceptive act or practice in the business of insurance.        TEX. INS. CODE

          §541.060(a)(4).

    37.   Defendant Bradford did not properly inspect the Property and failed to account for and/or

          undervalued many of Plaintiffs’ exterior and interior damages, although reported by

          Plaintiffs to State Auto. Defendant Bradford’s unfair settlement practice, as described

          above, of refusing to pay Plaintiffs’ claim without conducting a reasonable investigation,

          constitutes an unfair method of competition and an unfair and deceptive act or practice in

          the business of insurance. TEX. INS. CODE §541.060(a)(7).

                            CAUSES OF ACTION AGAINST STATE AUTO ONLY

38.       Defendant State Auto is liable to Plaintiffs for intentional breach of contract, as well as

          intentional violations of the Texas Insurance Code, and intentional breach of the common

          law duty of good faith and fair dealing.


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                                   BREACH OF CONTRACT

39.   Defendant State Auto’s conduct constitutes a breach of the insurance contract made

      between State Auto and Plaintiffs.

40.   Defendant State Auto’s failure and/or refusal, as described above, to pay the adequate

      compensation as it is obligated to do under the terms of the Policy in question, and under

      the laws of the State of Texas, constitutes a breach of State Auto’s insurance contract

      with Plaintiffs.

                         NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                              UNFAIR SETTLEMENT PRACTICES

41.   Defendant State Auto’s conduct constitutes multiple violations of the Texas Insurance

      Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under

      this article are made actionable by TEX. INS. CODE §541.151.

42.   Defendant State Auto’s unfair settlement practice, as described above, of misrepresenting

      to Plaintiffs material facts relating to the coverage at issue, constitutes an unfair method

      of competition and an unfair and deceptive act or practice in the business of insurance.

      TEX. INS. CODE §541.060(a)(1).

43.   Defendant State Auto’s unfair settlement practice, as described above, of failing to

      attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,

      even though State Auto’s liability under the Policy was reasonably clear, constitutes an

      unfair method of competition and an unfair and deceptive act or practice in the business

      of insurance. TEX. INS. CODE §541.060(a)(2)(A).

44.   Defendant State Auto’s unfair settlement practice, as described above, of failing to

      promptly provide Plaintiffs with a reasonable explanation of the basis in the Policy, in

      relation to the facts or applicable law, for its offer of a compromise settlement of the
                                                                                          Page 11
 
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      claim, constitutes an unfair method of competition and an unfair and deceptive act or

      practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

45.   Defendant State Auto’s unfair settlement practice, as described above, of failing within a

      reasonable time to affirm or deny coverage of the claim to Plaintiffs, or to submit a

      reservation of rights to Plaintiffs, constitutes an unfair method of competition and an

      unfair and deceptive act or practice in the business of insurance.         TEX. INS. CODE

      §541.060(a)(4).

46.   Defendant State Auto’s unfair settlement practice, as described above, of refusing to pay

      Plaintiffs’ claim without conducting a reasonable investigation, constitutes an unfair

      method of competition and an unfair and deceptive act or practice in the business of

      insurance. TEX. INS. CODE §541.060(a)(7).

                     NONCOMPLIANCE WITH TEXAS INSURANCE CODE:
                          THE PROMPT PAYMENT OF CLAIMS

47.   Defendant State Auto’s conduct constitutes multiple violations of the Texas Insurance

      Code, Prompt Payment of Claims. All violations made under this article are made

      actionable by TEX. INS. CODE §542.060.

48.   Defendant State Auto’s failure to acknowledge receipt of Plaintiffs’ claim, commence

      investigation of the claim, and request from Plaintiffs all items, statements, and forms

      that it reasonably believed would be required within the applicable time constraints, as

      described above, constitutes a non-prompt payment of claims and a violation of TEX. INS.

      CODE §542.055.

49.   Defendant State Auto’s failure to notify Plaintiffs in writing of its acceptance or rejection

      of the claim within the applicable time constraints, constitutes a non-prompt payment of

      the claim. TEX. INS. CODE §542.056.
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50.   Defendant State Auto’s delay of the payment of Plaintiffs’ claim following its receipt of

      all items, statements, and forms reasonably requested and required, longer than the

      amount of time provided for, as described above, constitutes a non-prompt payment of

      the claim. TEX. INS. CODE §542.058.

                          ACTS CONSTITUTING ACTING AS AGENT

51.   As referenced and described above, and further conduct throughout this litigation and

      lawsuit, Bradford is an agent of State Auto based on his acts during the handling of this

      claim, including inspections, adjustments, and aiding in adjusting a loss for or on behalf

      of the insurer. TEX. INS. CODE §4001.051.

52.   Separately, and/or in the alternative, as referenced and described above, State Auto

      ratified the actions and conduct of Bradford including the completion of his duties under

      the common law and statutory law.

                 BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

53.   Defendant State Auto’s conduct constitutes a breach of the common law duty of good

      faith and fair dealing owed to insureds in insurance contracts.

54.   Defendant State Auto’s failure, as described above, to adequately and reasonably

      investigate and evaluate Plaintiffs’ claim, although, at that time, State Auto knew or

      should have known by the exercise of reasonable diligence that its liability was

      reasonably clear, constitutes a breach of the duty of good faith and fair dealing.

                                       KNOWLEDGE

55.   Each of the acts described above, together and singularly, was done “knowingly,” as that

      term is used in the Texas Insurance Code, and was a producing cause of Plaintiffs’

      damages described herein.


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                                          DAMAGES

56.   Plaintiffs would show that all of the aforementioned acts, taken together or singularly,

      constitute the producing causes of the damages sustained by Plaintiffs.

57.   As previously mentioned, the damages caused by the April 25, 2015, hail storm and/or

      windstorm have not been properly addressed or repaired in the months since the Storm,

      causing further damages to the Property, and causing undue hardship and burden to

      Plaintiffs. These damages are a direct result of Defendant State Auto’s and Bradford’s

      mishandling of Plaintiffs’ claim in violation of the laws set forth above.

58.   For breach of contract, Plaintiffs are entitled to regain the benefit of their bargain, which

      is the amount of their claim, together with attorney’s fees.

59.   For noncompliance with the Texas Insurance Code, Unfair Settlement Practices,

      Plaintiffs are entitled to actual damages, which include the loss of the benefits that should

      have been paid pursuant to the policy, mental anguish, court costs, and attorney's fees.

      For knowing conduct of the acts described above, Plaintiffs ask for three times their

      actual damages. TEX. INS. CODE §541.152.

60.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiffs are

      entitled to the amount of their claim, as well as eighteen (18) percent interest per annum

      on the amount of such claim as damages, together with attorney's fees. TEX. INS. CODE

      §542.060.

61.   For breach of the common law duty of good faith and fair dealing, Plaintiffs are entitled

      to compensatory damages, including all forms of loss resulting from the insurer's breach

      of duty, such as additional costs, economic hardship, losses due to nonpayment of the

      amount the insurer owed, exemplary damages, and damages for emotional distress.


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62.    Plaintiffs are entitled to recover actual damages and exemplary damages for knowingly

       and malicious representations, along with attorney’s fees, interest, and court costs.

63.    For the prosecution and collection of this claim, Plaintiffs have been compelled to engage

       the services of the attorney whose name is subscribed to this pleading. Therefore,

       Plaintiffs are entitled to recover a sum for the reasonable and necessary services of

       Plaintiffs’ attorney in the preparation and trial of this action, including any appeals to the

       Court of Appeals and/or the Supreme Court of Texas.

                                        JURY DEMAND

64.    Plaintiffs previously requested that all causes of action alleged herein be tried before a

       jury consisting of citizens residing in Bexar County, Texas. Plaintiffs have tendered the

       appropriate jury fee.

                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon trial hereof, said

Plaintiffs have and recover such sums as would reasonably and justly compensate them in

accordance with the rules of law and procedure, as to actual damages, treble damages under the

Texas Insurance Code, and all punitive and exemplary damages as may be found. In addition,

Plaintiffs request the award of attorney’s fees for the trial and any appeal of this case, for all

costs of Court on their behalf expended, for prejudgment and postjudgment interest as allowed

by law, and for any other and further relief, either at law or in equity, to which they may show

themselves justly entitled.




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                                            Respectfully submitted,

                                            MOSTYN LAW

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                                            ATTORNEYS-IN-CHARGE FOR PLAINTIFFS



                               CERTIFICATE OF SERVICE

        I hereby certify that on this, the 10th day of May, 2017, a true and correct copy of the
foregoing instrument was electronically filed using the authorized ECF system and served on all
counsel of record who are registered users of the ECF system, pursuant to the Federal Rules of
Civil Procedure and the Local Civil Rules of this District.


                                            /s/ J. Ryan Fowler
                                            J. Ryan Fowler




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